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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                     MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                     Case No. C-07-5944 JST

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                                        This Order Relates To:                           ORDER REGARDING CERTAIN
                                  10                                                     DEFENDANTS' REQUEST TO APPEAR
                                                                                         BY TELEPHONE AT SUMMARY
                                  11    ALL DIRECT ACTION PLAINTIFFS                     JUDGMENT MOTION HEARINGS
                                  12
Northern District of California
 United States District Court




                                  13          Certain Defendants have requested permission to appear by telephone at upcoming

                                  14   hearings on motions for summary judgment. See ECF No. 4283.

                                  15          The motion is granted. Only attorneys who are appearing personally, however, may argue

                                  16   any motion pending before the Court. Also, any party who does appear by telephone must remain

                                  17   on the phone for the entirety of the hearing.

                                  18          IT IS SO ORDERED.

                                  19   Dated: January 11, 2016
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                                                                                                     JON S. TIGAR
                                  21                                                           United States District Judge

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